                        Case 3:22-cv-00392-VC Document 5 Filed 01/24/22 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Northern District of California

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                                                                       )
                                                                       )
                           Eva Chan                                    )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                                       Civil Action No.            3:22-cv-392 JCS
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                         PenSys, Inc.                                  )
                           Defendant(s)                                )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
     PenSys, Inc.
     2400 Professional Drive
     Ste 100
     Roseville CA 95661


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
James P. Keenley
Bolt Keenley Kim LLP
2855 Telegraph Ave., Suite 517
Berkeley CA 94705
510-225-0696 / jkeenley@bkkllp.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:      1/24/2022
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